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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
Humane Consumer LLC,

                      Plaintiff(s),                                18-cv-5622 (PKC)

       -against-                                                     ORDER
                                                          INITIAL PRETRIAL CONFERENCE
COB Ecommerce Empire LLC, et al.,

                  Defendant(s).
_____________________________________

CASTEL, United States District Judge.


       1.        Counsel for all parties are directed to appear for an Initial Pretrial Conference, in
accordance with Rule 16 of the Federal Rules of Civil Procedure on September 6, 2018 at 12:30 p.m.
in Courtroom 11D at the United States Courthouse, 500 Pearl Street, New York, New York.
Principal trial counsel must appear at this and all subsequent conferences.

     2.   COUNSEL FOR PLAINTIFF (OR THE REMOVING DEFENDANT) IS
DIRECTED TO IMMEDIATELY SEND A COPY OF THIS NOTICE TO ALL PARTIES.

      3.      By the date of the Conference, counsel for all parties are required to file a Notice of
Appearance in accordance with the Procedures for Electronic Case Filing.

       4.      The parties are directed to submit a joint letter five business days prior to the
conference addressing the following in separate paragraphs: (1) a brief description of the case,
including the factual and legal bases for the claim(s) and defense(s); (2) any contemplated motions;
and (3) the prospect for settlement. The parties are requested to set forth the date and time of the
Conference in the opening paragraph of the joint letter.

       5.       The parties are directed to consult the undersigned’s Individual Practices and to
confer on a Case Management Plan. The outline of a Plan may be found on the Court’s internet site:
www.nysd.uscourts.gov/judges/USDJ/castel.htm. The jointly proposed Plan should be submitted in
writing to the Court at the conference.

       6.      Requests for adjournment of the Conference will be considered only if made in
writing and in accordance with the undersigned’s Individual Practices.

       SO ORDERED.




Dated: New York, New York
       June 25, 2018
